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      Appendix B: Chart Summarizing Certain Labcorp Arguments Regarding Intrusion Upon Seclusion (Count IV)

       Labcorp’s Memorandum of Law in support of its Motion to Dismiss fully sets forth Labcorp’s arguments for dismissal of
Plaintiffs’ intrusion upon seclusion claim. For the court’s convenience, the chart below organizes those arguments and relevant
citations. Plaintiffs’ claim also fails for additional reasons not captured below.

                      No Common Law Intrusion Upon      Intrusion Upon Seclusion Requires           Intrusion Upon Seclusion Must Be
           State
                          Seclusion Cause of Action                  Intentionality                          Highly Offensive
     Arkansas         N/A                               Yes. Dillard v. City of Springdale,        Yes. Dillard v. City of Springdale,
                                                        Arkansas, 2022 WL 403287, at *6            Arkansas, 2022 WL 403287, at *6
     Plaintiff:                                         (W.D. Ark. Feb. 9, 2022).                  (W.D. Ark. Feb. 9, 2022).
     Palmer

     California       N/A                               Yes. Smith v. Cap. One Fin. Corp, 2012     Yes. Smith v. Cap. One Fin. Corp, 2012
                                                        WL 1669347, at *3 (N.D. Cal. May 11,       WL 1669347, at *3 (N.D. Cal. May 11,
     Plaintiffs:                                        2012).                                     2012).
     Lassiter
     Nazemnikov

     Florida          N/A                               Yes. Purrelli v. State Farm Fire & Cas.    Yes. Malverty v. Equifax Info. Servs.,
                                                        Co., 698 So. 2d 618, 620 (Fla. Dist. Ct.   LLC, 407 F. Supp. 3d 1257, 1267
     Plaintiffs:                                        App. 1997).                                (M.D. Fla. 2019)
     Buhr
     Laufenberg
     Georgia          N/A                               Yes. Sauls v. Hobby, 2020 WL 2763380,      Yes. Sauls v. Hobby, 2020 WL 2763380,
                                                        at *3 (M.D. Ga. Mar. 18, 2020).            at *3 (M.D. Ga. Mar. 18, 2020).
     Plaintiffs:
     Haley
     Nelson-Carter
     Scott




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                 No Common Law Intrusion Upon             Intrusion Upon Seclusion Requires            Intrusion Upon Seclusion Must Be
      State
                     Seclusion Cause of Action                         Intentionality                            Highly Offensive
Kansas           N/A                                      Yes. Froelich v. Werbin, 219 Kan. 461,       Yes. Froelich v. Werbin, 219 Kan. 461,
                                                          464, 548 P.2d 482, 484 (1976).               464, 548 P.2d 482, 484 (1976).
Plaintiff:
Finch
Kentucky         N/A                                      Yes. Howard v. Asset Acceptance, LLC,        Yes. Howard v. Asset Acceptance, LLC,
                                                          2013 WL 1760299, at *4 (E.D. Ky.             2013 WL 1760299, at *4 (E.D. Ky.
Plaintiff:                                                Apr. 24, 2013).                              Apr. 24, 2013).
Rothwell
Maryland         N/A                                      Yes. Furman v. Sheppard, 130 Md. App.        Yes. Furman v. Sheppard, 130 Md. App.
                                                          67, 73, 744 A.2d 583, 585 (2000).            67, 73, 744 A.2d 583, 585 (2000).
Plaintiffs:
Kaplan
Massachusetts    Invasion of privacy based claims         Yes. Billing v. Martha's Vineyard Pub.       Serious or substantial interference
                 must be brought under the state          Charter Sch., 2014 WL 69867, at *5 (D.       with privacy. Cook v. WHDH-TV,
Plaintiff:       privacy statute. Axford v. TGM           Mass. Jan. 8, 2014).                         Inc., 1999 WL 1327222, at *5 (Mass.
Shulman          Andover Park, LLC, 2021 WL 681953,                                                    Super. Mar. 4, 1999)
                 at *13 (D. Mass. Feb. 22, 2021); Mass.
                 Gen. Laws Ann. ch. 214, § 1B.
Mississippi      N/A                                      Yes. Plaxico v. Michael, 735 So. 2d          Yes. Plaxico v. Michael, 735 So. 2d
                                                          1036, 1039 (Miss. 1999)                      1036, 1039 (Miss. 1999)
Plaintiffs:
Spencer
Thomas

New Jersey       N/A                                      Yes. Stengart v. Loving Care Agency, Inc.,   Yes. Stengart v. Loving Care Agency, Inc.,
                                                          201 N.J. 300, 316-17, 990 A.2d 650,          201 N.J. 300, 316-17, 990 A.2d 650,
Plaintiff:                                                660 (2010).                                  660 (2010).
Lebon




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                   No Common Law Intrusion Upon Intrusion Upon Seclusion Requires                    Intrusion Upon Seclusion Must Be
      State
                       Seclusion Cause of Action                        Intentionality                        Highly Offensive
New York          Yes. Bonner v. The Bank of New York     N/A                                        N/A
                  Mellon, 2016 WL 1426515, at *6
Plaintiffs:       (E.D.N.Y. Feb. 22, 2016), report and
Gadero            recommendation adopted sub nom.
Wallach           Bonner v. Bank of New York Mellon, 2016
                  WL 1238234 (E.D.N.Y. Mar. 28,
                  2016).
North Carolina    N/A                                     Yes. Tillet v. Onslow Mem’l Hosp., Inc.,   Yes. Tillet v. Onslow Mem’l Hosp., Inc.,
                                                          215 N.C. App. 382, 384, 715 S.E.2d         215 N.C. App. 382, 384, 715 S.E.2d
Plaintiffs:                                               538, 540 (2011).                           538, 540 (2011).
Vaszquez
Wrenn
Ohio              N/A                                      Yes. Sustin v. Fee, 69 Ohio St. 2d 143,   Yes. Sustin v. Fee, 69 Ohio St. 2d 143,
                                                           145, 431 N.E.2d 992, 993-94 (1982)        145, 431 N.E.2d 992, 993-94 (1982)
Plaintiffs:
S. Harris
Thrower
Pennsylvania      N/A                                      Yes. List v. Jameson Mem’l Hosp., 2013    Yes. List v. Jameson Mem’l Hosp., 2013
                                                           WL 11256398, at *4 (Pa. Super. Ct.        WL 11256398, at *4 (Pa. Super. Ct.
Plaintiff:                                                 Aug. 27, 2013).                           Aug. 27, 2013).
Judelsohn
Texas             N/A                                      Yes. Escamilla v. United States, 2015 WL Yes. Escamilla v. United States, 2015 WL
                                                           12734050, at *7 (W.D. Tex. Jan. 29,      12734050, at *7 (W.D. Tex. Jan. 29,
Plaintiff:                                                 2015).                                   2015).
Cuvillier
Wisconsin         Invasion of privacy based claims          Yes. Fox v. Iowa Health Sys., 399 F.     Yes. Wis. Stat. Ann. § 995.50
                  must be brought under the state           Supp. 3d 780, 797 (W.D. Wis. 2019).
Plaintiff:        privacy statute. Stayart v. Yahoo! Inc.,
Allende           651 F. Supp. 2d 873, 886–87 (E.D.
                  Wis. 2009), aff’d, 623 F.3d 436 (7th Cir.
                  2010); Wis. Stat. Ann. § 995.50.



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